Case 2:05-cr-2020l-.]DB Document 33 Filed 08/25/05 Page 1 of 2 PagelD 45

 

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uNcTED sTATEs oF AMEI=zlc/-\ Wm OFTN} MEMS
Plaimirr
vs.
cl=i. No. 05-20201-B
JoHN Fono,
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for trial on the September, 2005 criminal rotation calendar.
Counse| for the defendant has requested a continuance of the trial date in order to allow
for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
Fteport Date of Thursdav, November 3. 2005. at 9:00 am., in Courtrocm 1. ttth F|cor
of the Federal Building, l\flemphis, TN.

The period from September 16, 2005 through November 18, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ot justice served in allowing for
additional time to prepare outweigh/t&c-:need tor a speedy trial.

iT ls so oaDEnED this 24 day r ugusr, 2005.

 

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 33 in
case 2:05-CR-20201 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

